Case 3:17-cv-00072-NKM-JCH Document 259 Filed 03/12/18 Page 1 of 4 Pageid#: 1692




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                               Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                 Defendants.


         MOTION FOR PRO HAC VICE ADMISSION OF GABRIELLE E. TENZER

         Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the

  Western District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court,

  and counsel of record in the instant proceeding, hereby move the Court for the admission of
Case 3:17-cv-00072-NKM-JCH Document 259 Filed 03/12/18 Page 2 of 4 Pageid#: 1693




  Gabrielle E. Tenzer, Esq., to appear pro hac vice on behalf of the Plaintiffs in the above

  captioned case and in support thereof state as follows:

         1.      Ms. Tenzer is an attorney with Kaplan and Company, LLP, 350 Fifth Avenue,

  Suite 7110, New York, NY 10118, Tel: (212) 763-0883,

  Email: gtenzer@kaplanandcompany.com.

         2.      Ms. Tenzer is qualified and licensed to practice law and is a bar member in good

  standing in the State of New York (Bar ID No. 4545034 – since November 14, 2007).

         3.      Ms. Tenzer agrees to submit to and comply with the appropriate rules of

  procedure as required in the case for which she is applying to appear pro hac vice as well as the

  rules and standards of professional conduct applicable to all lawyers admitted to practice before

  this Court.

         WHEREFORE, for the reasons stated above, it is requested that this Court grant this

  motion and permit Gabrielle E. Tenzer, Esq., to appear pro hac vice on behalf of Plaintiffs in the

  above captioned case, and to appear at hearings or trials in the absence of an associated member

  of the bar of this Court.

         Dated: March 12, 2018                         Respectfully submitted,

                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs



                                                   2
Case 3:17-cv-00072-NKM-JCH Document 259 Filed 03/12/18 Page 3 of 4 Pageid#: 1694




                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 12, 2018, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

  Justin Saunders Gravatt
  David L. Hauck
  David L. Campbell
  Duane, Hauck, Davis & Gravatt, P.C.
  100 West Franklin Street, Suite 100
  Richmond, VA 23220
  jgravatt@dhdglaw.com
  dhauck@dhdglaw.com
  dcampbell@dhdglaw.com

  Counsel for Defendant James A. Fields, Jr.

  Bryan Jones
  106 W. South St., Suite 211
  Charlottesville, VA 22902
  bryan@bjoneslegal.com

  Counsel for Defendants Michael Hill, Michael Tubbs, and League of the South

  Elmer Woodard
  5661 US Hwy 29
  Blairs, VA 24527
  isuecrooks@comcast.net

  James E. Kolenich
  Kolenich Law Office
  9435 Waterstone Blvd. #140
  Cincinnati, OH 45249
  jek318@gmail.com

  Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew
  Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
  Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and
  Christopher Cantwell




                                                  3
Case 3:17-cv-00072-NKM-JCH Document 259 Filed 03/12/18 Page 4 of 4 Pageid#: 1695




  Michael Peinovich
  a/k/a Michael “Enoch” Peinovich
  PO Box 1069
  Hopewell Junction, NY 12533

  Pro Se Defendant


          I further hereby certify that on March 12, 2018, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

  Loyal White Knights of the Ku Klux Klan             Andrew Anglin
  a/k/a Loyal White Knights Church of                 P.O. Box 208
  the Invisible Empire, Inc.                          Worthington, OH 43085
  c/o Chris and Amanda Barker
  P.O. Box 54                                         East Coast Knights of the Ku Klux Klan
  Pelham, NC 27311                                    a/k/a East Coast Knights of the
                                                      True Invisible Empire
  Richard Spencer                                     26 South Pine St.
  1001-A King Street                                  Red Lion, PA 17356
  Alexandria, VA 22314
  -and-                                               Fraternal Order of the Alt-Knights
  P.O. Box 1676                                       c/o Kyle Chapman
  Whitefish, MT 59937                                 52 Lycett Circle
                                                      Daly City, CA 94015
  Moonbase Holdings, LLC
  c/o Andrew Anglin                                   Augustus Sol Invictus
  P.O. Box 208                                        9823 4th Avenue
  Worthington, OH 43085                               Orlando, FL 32824




                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      Email: rcahill@cooley.com

                                                      Counsel for Plaintiffs


                                                  4
